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 7   MANAGEMENT SERVICES

 8                                UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10   MICHAEL SEGURA, individually,                             Case No.: 2:21-cv-01086-JAD-BNW

11                         Plaintiff,

12    vs.                                                      STIPULATION AND ORDER FOR
                                                               PARTIAL DISMISSAL WITH
13   ZURICH AMERICAN INSURANCE                                 PREJUDICE
     COMPANY, a foreign entity; SEDGWICK
14   CLAIMS MANAGEMENT SERVICES, a
     foreign entity; DOES I-V, inclusive; ROE                          ECF No. 13
15   CORPORATIONS I-V, inclusive,

16                         Defendants.

17
             IT IS HEREBY STIPULATED, by and between Plaintiff, Michael Segura, and Defendants
18
     Zurich American Insurance Company and Sedgwick Claims Management Services, by and through
19
     their undersigned attorneys as follows:
20
             IT IS HEREBY STIPULATED AND AGREED THAT the First Cause of Action in Plaintiff’s
21
     Complaint (“Bad Faith”) be dismissed with prejudice;
22
             IT IS HEREBY FURTHER STIPULATED AND AGREED THAT the Second Cause of
23
     Action in Plaintiff’s Complaint (“Bad Faith and Unfair Claims Practices Pursuant to NRS 686A”) be
24
     dismissed with prejudice;
25
             IT IS HEREBY FURTHER STIPULATED AND AGREED THAT the Fourth Cause of Action
26
     in Plaintiff’s Complaint (“Breach of the Covenant of Good Faith and Fair Dealing”) be dismissed with
27
     prejudice;
28

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 1           IT IS HEREBY FURTHER STIPULATED AND AGREED THAT Defendant Sedgwick

 2   Claims Management Services be dismissed from this action with prejudice.

 3    Dated this 25th day of October, 2021.             Dated this 25th day of October, 2021.

 4    DEAVER – CRAFTON                                  WILSON, ELSER, MOSKOWITZ,
                                                        EDELMAN & DICKER LLP
 5
      /s/ Brice J. Crafton
 6                                                      /s/ Christopher D. Phipps
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 9    Attorneys for Plaintiff                           Las Vegas, Nevada 89119
                                                        Attorneys for Defendants
10

11                                                  ORDER
12           Based on to
             Pursuant  thethe
                            parties' stipulation
                              Stipulation  of the[ECF   No.
                                                  Parties   13] and good cause appearing,
                                                          above,
13           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the First Cause of Action in
14   Plaintiff’s Complaint (“Bad Faith”) be dismissed with prejudice;
15           IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED that the Second
16   Cause of Action in Plaintiff’s Complaint (“Bad Faith and Unfair Claims Practices Pursuant to NRS
17   686A”) be dismissed with prejudice;
18           IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED that the Fourth Cause
19   of Action in Plaintiff’s Complaint (“Breach of the Covenant of Good Faith and Fair Dealing”) be
20   dismissed with prejudice;
21           IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED that Defendant
22   Sedgwick Claims Management Services be dismissed from this action with prejudice.
23           DATED this _______ day of October, 2021.
                                                   _________________________________
24                                                 U.S. District Judge Jennifer A. Dorsey
25                                                 Dated: October 27, 2021
                                                      ______________________________________
26                                                    DISTRICT COURT JUDGE

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